      Case 4:23-cv-01050 Document 9 Filed on 07/10/23 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                         July 10, 2023
                      IN THE UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

SHARON YASIN,                                   §
                                                §
                      Plaintiff,                §
                                                §
VS.                                             §     CIVIL ACTION NO. H-23-1050
                                                §
                                                §
                                                §
                                                §
MV TRANSPORTATION, et al,                       §
                                                §
                      Defendants.               §

                                    ORDER OF DISMISSAL

       In accordance with the plaintiff’s notice of dismissal, (Docket Entry No. 8, this action is

dismissed.

              SIGNED on July 10, 2023, at Houston, Texas.


                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                        United States District Judge
